        Case 1:16-cr-00281-PGG Document 245 Filed 02/20/18 Page 1 of 2



IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

                                               :
UNITED STATES OF AMERICA,                      :     16-cr-00281-2 (PGG)
                                               :
                                               :
vs.                                            :
                                               :
                                               :
BRANDON GREEN, et al.                          :
                                               :
                           Defendants.         :


                                NOTICE OF APPEARANCE

       PLEASE TAKE NOTICE that Melissa S. Geller of Duane Morris, LLP, being admitted

to practice before this Court, enters her appearance on behalf of Defendant Brandon Green.


Dated: February 20, 2018
                                            DUANE MORRIS LLP


                                            By:     /s/ Melissa S. Geller     .
                                                   Melissa S. Geller
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                                                   Attorneys for Defendant Brandon Green
        Case 1:16-cr-00281-PGG Document 245 Filed 02/20/18 Page 2 of 2



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                                                :
vs.                                             :
                                                :
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BRANDON GREEN, et al.                           :
                                                :
                           Defendants.          :


                               CERTIFICATE OF SERVICE

       The undersigned certifies under penalty of perjury under the laws of the State of New

York that on February 20, 2018 I served a true and correct copy of the foregoing Notice of

Appearance by ECF on all counsel of record.


Dated: February 20, 2018
                                            DUANE MORRIS LLP


                                            By:      /s/ Melissa S. Geller     .
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